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     Attorney for Defendant FRANK ROMERO, JR.
6

7

8                                 UNITED STATES DISTRICT COURT
9
                                EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                      ) Case No.: CR-F-04-5185 OWW
                                                    )
12                       Plaintiff,                 ) MOTION TO EXONERATE BOND
            vs.                                     )
13                                                  )
     FRANK ROMERO, JR., et al.,                     )
14                                                  )
                       Defendants.                  )
15
                                                    )
16
                                                    )

17
            TO McGREGOR W. SCOTT, UNITED STATES ATTORNEY, AND KATHLEEN A.
18
     SERVATIUS, ASSISTANT UNITED STATES ATTORNEY:
19
            PLEAST TAKE NOTICE that Defendant, FRANK ROMERO, JR., by and through his
20
     counsel hereby moves this court for an order to exonerate the bond in the above-referenced
21
     matter. In support of this motion Defendant states the following:
22

23
            1.       Defendant was arrested on or about July 22, 2004. On or about August 5, 2004,

24   Defendant was released on Bond and Pretrial Services supervision pursuant to a $150,000.00

25   property bond secured by equity in property of Frank Xavier Romero, Sr.




                                                   -1-
                 Case 1:04-cr-05185-AWI Document 344 Filed 01/13/06 Page 2 of 3


1           2.       On September 12, 2005, Defendant entered a plea of guilty to a violation of 18
2
     U.S.C. § 846, 841(a)(1), Conspiracy to Manufacture and Distribute Methamphetamine.
3
            3.       On or about December 13, 2005, Defendant was sentenced to a term of
4
     imprisonment of 35 months.
5
            WHEREFORE, it is requested that the Court order exonerate the bond in the above-
6
     referenced matter.
7

8
     DATED: December ___, 2005                   Respectfully Submitted,
9

10                                               THE DANIEL HARRALSON LAW FIRM
                                                 A Professional Corporation
11

12                                               /s/ Daniel L. Harralson
                                                 ____________________________________
13                                               Attorney for Defendant
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              Case 1:04-cr-05185-AWI Document 344 Filed 01/13/06 Page 3 of 3


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8                                 UNITED STATES DISTRICT COURT
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                                EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                        ) Case No.: CR-F-04-5185 OWW
                                                      )
12                       Plaintiff,                   ) ORDER TO EXONERATE BOND
            vs.                                       )
13                                                    )
     FRANK ROMERO, JR., et al.,                       )
14                                                    )
                       Defendants.                    )
15
                                                      )
16
                                                      )

17

18          IT IS HEREBY ORDERED that the bond posted in the above-referenced matter on or

19   about August 5, 2004, for Frank Romero Jr. be exonerated.

20          IT IS FURTHER ORDERED that the property of Frank Xavier Romero, Sr., which was
21   used to secure the bond, be released from any and all liabilities.
22

23
            Dated: January 12, 2006                 /s/ OLIVER W. WANGER
24

25
                                                    JUDGE OF THE U.S. DISTRICT COURT




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